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                              UNITED    STATES      DISTRICT      COURT
                              EASTERN DISTRICT OF VIRGINIA                  |      |   MAR 1 2 2008
                                       Norfolk Division                     i
                                                                            '     CLERK. US DiSi^CT COURT
                                                                            |            NOR' OIK, VA
 UNITED     STATES      OF AMERICA,


 V.                                                                 CRIMINAL NO.         2:07cr237


 RAMON DICKERSON,


                                   Defendant.



                              ACCEPTANCE      OF    PLEA OF   GUILTY.
                                     ADJUDICATION      OF   GUILT


                                     NOTICE    OF   SENTENCING


       Pursuant to the Report and Recommendation of the United States


 Magistrate Judge,            to which there has been no timely objection,                        the


 plea of guilty of the defendant to Counts Eight                           (8),    Ten    (10),   and


 Thirteen     (13)      of   the    indictment      is now ACCEPTED and the defendant


 is ADJUDGED GUILTY of such offense.                   Sentencing is hereby scheduled


 for June     3,    2008,     at    10:00   a.m.


       The    Clerk      is    DIRECTED       to    forward   a    copy    of     this    Order     to


 counsel     for defendant and to the Assistant United States Attorney.


       IT    IS    SO   ORDERED.
                                                                     fat
                                                     Rebecca Beach Smith
                                                     United States District Judge

                                                REBECCA BEACH        SMITH
                                                UNITED STATES       DISTRICT JUDGE


 Norfolk     Virginia


 March \% , 2 008
